       Case 6:20-cv-00108-ADA Document 157 Filed 08/23/22 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                                WACO
                                WACO DIVISION


PARKERVISION, INC.                         §
                                           §      CIVIL NO:
vs.                                        §      WA:20-CV-00108-ADA
                                           §
INTEL CORPORATION                          §

                              Discovery
                ORDER SETTING DISCOVERY HEARING


         IT IS HEREBY ORDERED that the above entitled and numbered case is set
                                                                            set for
DISCOVERY HEARING in District Courtroom #1, on the Third Floor of the United States
Courthouse, 800 Franklin Ave, Waco
                               Waco, TX, on Wednesday, September 07, 2022 at 01:30 PM.
All parties and counsel must appear at this hearing.

       IT                      23rd day of August, 2022.




                                           Alan D Albright
                                           UNITED STATES DISTRICT JUDGE
